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5
                              IN THE UNITED STATES DISTRICT COURT
6
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
7
     UNITED STATES OF AMERICA,                    )      Case №: 2:16-cr-00067-JAM
8                                                 )
                     Plaintiff,                   )                    ORDER
9                                                 )               APPOINTING COUNSEL
             vs.                                  )
10                                                )
     VIDAL GONZALEZ                               )
11                                                )
                     Defendant.                   )
12                                                )
13          The above named Defendant is currently in an Intensive Care Unit in Washington state.
14
     An attorney in Washington state, J. Talitha Hazelton (WSBA #54260), believes he qualifies for
15
     appointed counsel and will attempt to complete a financial affidavit as soon as possible. Ms.
16
     Hazelton is familiar with the local details of the client and his case. Therefore, in the interests of
17
18   justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,

19          IT IS HEREBY ORDERED that J. Talitha Hazelton be specially appointed to represent

20   the above defendant in this case effective nunc pro tunc to September 10, 2020, substituting the
21
     Federal Defenders Office appointed per G.O. 595. Since Ms. Hazelton is not admitted to our
22
     court, so it is also ordered that Timothy Warriner be appointed Pro Hac Vice.
23
            This appointment shall remain in effect until further order of this court.
24
25   DATED: 9/11/2020
26
                                    /s/ John A. Mendez______________________________________
27                                  HON. JOHN A. MENDEZ
                                    United States District Judge
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